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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

DRESSER-RAND COMPANY                       §
                                           §
        Plaintiff,                         §
                                           §
v.                                         §
                                           §   CIVIL ACTION NO. 4:12-cv-00184
SCHUTTE & KOERTING                         §
ACQUISITION COMPANY et. al,                §
                                           §
        Defendants.                        §

      S&K’S EMERGENCY MOTION TO PERMIT DEFENDANTS TO REVIEW
     DRESSER-RAND'S EXPERT REPORTS AND EXTENDING DEFENDANTS’
                     EXPERT REPORT DEADLINES

        Defendant Schutte & Koerting Acquisition Company (“S&K”) files this

Emergency Motion and moves this Court to issue an order permitting the

individual defendants and Mike Pintozzi (S&K’s President and Rule 30(b)(6)

witness) to review Dresser-Rand Corporation’s (“Dresser) expert reports and

extending the deadline for S&K to file its expert reports to June 13, 2017, which

is twenty-eight days from the date that all other discovery in this case is

complete. S&K files this motion on an emergency basis because, under the local

rules, S&K’s responses to Dresser’s expert reports are due before the deadline

for this Court to rule on the motion.

                                        1. ARGUMENT
        On March 27, 2017, Dresser served four expert reports on S&K. As this

Court acknowledged at the February 21, 2017 hearing, those reports are the
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“crux” of this case and represent the first time that Dresser has attempted to

identify the alleged trade secrets. That same day Dresser served its Response to

S&K’s Third Set of Requests for Production and failed to make a production of

documents that S&K was expecting, which S&K needs to prepare its defense and

to respond to Dresser’s expert reports. Per the current scheduling order, S&K

had just twenty-eight days to respond to Dresser’s expert reports. Dkt. 91.

A. Dresser Improperly Precludes Defendants from Access to the Expert Reports

      Dresser designated each of its expert reports as “Highly Confidential”

under the Protective Order (Dkt. 30), in an attempt to preclude the individual

defendants or Mr. Pintozzi, S&K’s representative, from seeing the very

information they are accused of misappropriating. Counsel for S&K immediately

requested that Dresser permit the defendants to see the reports under Section

7(F)(c) of the Protective Order. Dresser refused (though not before delaying four

days). Now, counsel is left in the impossible position of needing to respond to

expert reports in less than twenty-two days without being able to tell S&K what

damages are at stake, and why, or tell the individual defendants what they are

alleged to have taken and why those materials are trade secrets. There is no

good faith basis for Dresser’s position, and the position is directly contradicted

by the terms of the Protective Order.

      First, each of the individuals is a party to this case (or party

representative), has a right to attend all depositions (and in many instances have

done so), and will be present at trial when the materials in the expert reports
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will be presented. Indeed, via phone, counsel for Dresser conceded that the

individuals will be able to see the materials later. Moreover, the vast majority of

the information in the expert reports was already shown to the individual

defendants when Dresser took their depositions. To put it another way, and to

highlight the outrageousness of Dresser’s position, Dresser accuses S&K and the

individual defendants of stealing materials but tries to prevent both S&K and

the individual defendants from knowing what materials they are supposed to

have taken or how those materials form the basis for a misappropriation of trade

secret claim.

        Second, Dresser’s position is particularly absurd as to the technical report

because Dresser’s technical expert admits that the individual defendants created

all of the materials at issue. In other words, Dresser is refusing to let the

individual defendants see the very materials that Dresser admits the individual

defendants created. 1 The Protective Order states that “‘Highly Confidential

Information’ does not include . . . documents already in the knowledge . . . of the

party to whom the disclosure is made.’” Dkt. 30 at 2. Thus, per the plain terms

of the Protective Order and the admission of Dresser’s expert, the technical




    1 This too goes to highlight just how prejudicial Dresser’s position is against S&K.
How can S&K’s expert refute claims about the design of the valves and alleged trade
secrets if he cannot discuss those designs with the actual designer? And on what basis
should the expert be precluded from talking to the designer when the designer has a
right to see (and in most instances already has seen) all of this information anyway?
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report cannot be Highly Confidential Information because all of the information

in its was already in the knowledge of the individual defendants.

           B. Additional Time Is Needed to Prepare Rebuttal Reports

      At the February 21, 2017 hearing, this Court recognized that because S&K

was still unaware of what Dresser’s trade secret allegations would be, S&K

might need additional time to respond. Dkt. 103 at 39. On February 21, the

Court did not know that Dresser would refuse to allow defendants to see its

expert reports or to make a timely production of documents S&K needed for its

defense. In light of these delays, S&K is now in need of the additional time this

Court contemplated.

      Specifically, S&K has suffered unwarranted prejudice by Dresser’s

complete failure to produce any documents that were owed to it on March 27,

which severely limits S&K’s ability to conduct discovery. In fact, Dresser has

refused to produce broad categories of responsive and relevant documents that

S&K needs to respond to the reports and prepare for depositions (documents

such as those showing the value of the Gimpel business, Dresser’s unsuccessful

sales, any agreements Dresser had with customers to keep its information

confidential, and whether Dresser used the “trade secrets” to design its valves

following the departure of the individual defendants). The two sides are

currently attempting to resolve the disputes as to S&K’s Requests, but that will

take time, which S&K does not have. To respond to Dresser’s expert reports,

S&K needs to review the documents that it expected to receive March 27 and
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then must take depositions, including the deposition of Dresser’s corporate

representative as well as several additional witnesses said to have knowledge

related to the complaint, whom Dresser just added to its disclosures on March

27. 2

            Because S&K would have had twenty-eight days to respond had Dresser

made its production in a timely manner, S&K requests that this Court extend the

deadline for S&K to file its expert reports to June 13— twenty-eight days after

Dresser is required to have completed all productions and the parties to have

completed all other discovery. 3 Such an extension is fair to both sides as it

simply restores the status quo before this latest discovery dispute erupted.

                                        2. CONCLUSION
            S&K therefore respectfully requests that this Court immediately issue an

order permitting the individual defendants and Mr. Pintozzi to review Dresser’s

expert reports and extending the deadline for S&K to file its expert reports to

June 13, 2017. S&K does not believe a hearing is necessary, but S&K welcomes

the opportunity to argue these points if that is the Court’s preference.



      Likewise, for six years, S&K has requested financial information from Dresser,
        2

which was never produced. In connection with its expert reports, Dresser finally
produced certain financial documents that had been provided to its expert (but which
S&K has not previously seen). S&K needs time to review that information and
determine whether it is complete.

       S&K recognizes that Dresser will have the right to depose S&K’s expert
        3

witnesses once the reports are filed. S&K further recognizes that this order will
necessitate that the summary judgment motion likewise be moved back twenty-eight
days to July 10, 2017.
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                                      Respectfully submitted,
                                      ANDREWS KURTH LLP

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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April, 2017. I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of this filing to the following attorneys of record who are filing users of the

Court’s Electronic Filing System:

       Kyle C. Reeb                            David K. Anderson
       Jonathan Pierce                         Julie B. Cunningham
       Kerry McMahon                           Anderson & Cunningham
       Jamie L. Godsey                         1221 Lamar, Suite 1115
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       Houston, Texas 77002                    Counsel for Defendants
                                               Kanaksinh Ashar and Anthony Jardine
       Counsel for Plaintiff
       Dresser-Rand Company

                                                 /s/ Joseph W. Golinkin II

                          CERTIFICATE OF CONFERENCE

       I hereby certify that, before the filing of Defendant Schutte & Koerting

Acquisition Company's Emergency Motion to Permit Defendants to Review Dresser-

Rand's Expert Reports and Extending Defendants' Expert Report Deadlines, I conferred

with counsel for Plaintiff by telephone on a number of occasions regarding the issues

addressed in the Motion. Based on the foregoing, Defendant certifies that it has made a

reasonable effort to resolve this dispute without the necessity of Court intervention, and

that effort has failed.

                                                 /s/ Eric G. Osborne
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                                            §
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  S&K’S EMERGENCY MOTION TO PERMIT DEFENDANTS TO REVIEW
 DRESSER-RAND'S EXPERT REPORTS AND EXTENDING DEFENDANTS’
                 EXPERT REPORT DEADLINES

       The Court, after considering Defendant Schutte & Koerting Acquisition

Company's Emergency Motion to Permit Defendants to Review Dresser-Rand's Expert

Reports and Extending Defendants' Expert Report Deadlines, is of the opinion that it

should be granted; it is, therefore

       ORDERED that Defendant Schutte & Koerting Acquisition Company's

Emergency Motion to Permit Defendants to Review Dresser-Rand's Expert Reports and

Extending Defendants' Expert Report Deadlines is granted. The individual

defendants and Mr. Pintozzi shall be permitted to review Dresser’s expert

reports and the deadline for S&K to file its expert reports is extended to June 13,

2017. The summary judgment deadline is extended to July 10, 2017. Dresser will have

the right to depose S&K’s expert witnesses following provision of S&K’s expert reports.
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 SIGNED this _____ day of _________________, 2017.




                                The Honorable Nancy K. Johnson
                                United States District Judge
